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 8
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10   IRICO DISPLAY DEVICES CO., LTD.

11

12                               UNITED STATES DISTRICT COURT

13                          NORTHERN DISTRICT OF CALIFORNIA

14                                    OAKLAND DIVISION

15

16   IN RE: CATHODE RAY TUBE (CRT)               Master File No. 4:07-cv-05944-JST
     ANTITRUST LITIGATION                        (N.D. Cal.)
17
                                                 MDL No. 1917
18
     This Document Relates to:                   IRICO DEFENDANTS’
19                                               ADMINISTRATIVE MOTION TO
     ALL INDIRECT PURCHASER ACTIONS              CONSIDER WHETHER LG PHILIPS
20                                               DISPLAYS MATERIAL SHOULD BE
                                                 SEALED PURSUANT TO CIVIL LOCAL
21                                               RULES 7-11 AND 79-5(f)

22
                                                 Date: April 13, 2023
23                                               Time: 2:00 pm
                                                 Judge: Hon. Jon S. Tigar
24                                               Courtroom: 6, 2nd Floor
25

26

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28
      IRICO’S ADMIN MOTION TO CONSIDER                      Master File No. 3:07-cv-05944-SC
      WHETHER LPD MATERIAL SHOULD BE                                           MDL No. 1917
      SEALED
      Case 4:07-cv-05944-JST Document 6153 Filed 02/15/23 Page 2 of 4



 1          Pursuant to Civil Local Rules 7-11 and 79-5(f), Defendants Irico Group Corporation and

 2   Irico Display Devices Co., Ltd. (collectively, “Irico”) hereby move the Court to consider whether

 3   material designated as confidential by LG Philips Displays (“LPD”) should be sealed.

 4          Irico has reviewed and complied with this Court’s Standing Order Governing

 5   Administrative Motions to File Materials Under Seal Before District Judge Jon S. Tigar (Mar.

 6   14, 2022) and Civil Local Rule 79-5, including the requirement to file separate motions if a

 7   party seeks to file under seal a document containing “portions that more than one party bears

 8   the burden of showing is sealable.” Civil L.R. 79-5(f)(5). This motion relates solely to

 9   materials designated confidential by LPD.

10          Irico proposes to seal the following documents or portions thereof:

11    Document Proposed to Be Sealed or Redacted                 Designating Entity
      Gray highlighted portions of Exhibit 1 to the              LPD
12
      Declaration of Thomas Carter in Support of Irico
13    Defendants’ Administrative Motion to Consider
      Whether LPD Material Should Be Sealed – Apr. 15,
14    2014 Expert Report of Janet Netz
15

16    Gray highlighted portions of Exhibit 4 to the              LPD
      Declaration of Thomas Carter in Support of Irico
17    Defendants’ Administrative Motion to Consider
      Whether LPD Material Should Be Sealed – Aug. 5,
18    2014 Expert Report of Margaret E. Guerin-Calvert
19

20    Exhibit 20 to the Declaration of Thomas Carter in          LPD
      Support of Irico Defendants’ Administrative Motion to
21
      Consider Whether LPD Material Should Be Sealed – A
22    document produced by LPD, Bates labeled LPD-
      NL00018253
23

24
      Exhibit 21 to the Declaration of Thomas Carter in          LPD
25    Support of Irico Defendants’ Administrative Motion to
      Consider Whether LPD Material Should Be Sealed – A
26    document produced by LPD, Bates labeled LPD-
      NL00018267
27

28
      IRICO’S ADMIN MOTION TO CONSIDER             1                 Master File No. 4:07-cv-05944-JST
      WHETHER LPD MATERIAL SHOULD BE                                                     MDL No. 1917
      SEALED
      Case 4:07-cv-05944-JST Document 6153 Filed 02/15/23 Page 3 of 4



 1    Exhibit 22 to the Declaration of Thomas Carter in           LPD
      Support of Irico Defendants’ Administrative Motion to
 2    Consider Whether LPD Material Should Be Sealed – A
 3    document produced by LPD, Bates labeled LPD-
      NL00140679
 4

 5
      Exhibit 23 to the Declaration of Thomas Carter in           LPD
 6    Support of Irico Defendants’ Administrative Motion to
      Consider Whether LPD Material Should Be Sealed – A
 7    document produced by LPD, Bates labeled LPD-
      NL00173522
 8

 9
      Exhibit 24 to the Declaration of Thomas Carter in           LPD
10    Support of Irico Defendants’ Administrative Motion to
      Consider Whether LPD Material Should Be Sealed – A
11    document produced by LPD, Bates labeled LPD-
12    NL00214381

13

14

15          Civil Local Rule 79-5 governs the filing under seal of documents in civil cases. In

16   compliance with Civil Local Rule 79-5(f), Irico submits this Motion in order to file (a) material

17   designated by LPD pursuant to the Stipulated Protective Order, ECF No. 0306, as “Confidential”

18   or “Highly Confidential;” or (b) references to or quotations from material or data designated by

19   LPD pursuant to the Stipulated Protective Order as “Confidential” or “Highly Confidential.”

20          Irico seeks to file the above material under seal in good faith in order to comply with the

21   Protective Order in this action and the applicable Local Rules. Under Civil L.R. 79-5(c) and (f),

22   the parties that contend the material they have designated is confidential in nature bear the burden

23   to establish that the designated information meets the requirements for sealing. See Kamakana v.

24   City of Honolulu, 447 F.3d 1172, 1178-80 (9th Cir. 2006). Irico understands that, given the

25   Court’s direction at the hearing on Direct Purchaser Plaintiffs’ November 19, 2021 sealing

26   motion (ECF No. 5966), the designated materials subject to this motion may not qualify for filing

27   under seal. Irico has undertaken to reach out to all parties that have designated information or

28   materials attached to the Declaration of Evan Werbel in Support of Irico’s Motion to Partially
      IRICO’S ADMIN MOTION TO CONSIDER              2                Master File No. 4:07-cv-05944-JST
      WHETHER LPD MATERIAL SHOULD BE                                                     MDL No. 1917
      SEALED
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 1   Exclude the Proposed Expert Testimony of Dr. Janet Netz (“Werbel Declaration”) as

 2   “Confidential” or “Highly Confidential,” in order to secure their permission to file the materials

 3   publicly.1 However, LPD currently has no active counsel for the instant litigation and does not

 4   appear to be a currently operating entity.

 5            WHEREFORE, Irico respectfully submits this administrative motion pursuant to the

 6   Stipulated Protective Order and Civil Local Rule 79-5(f).

 7
     Dated: February 15, 2023                      Respectfully submitted,
 8

 9
                                                         /s/ Thomas Carter
10                                                Thomas Carter (pro hac vice)
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14                                                Attorneys for Defendants
                                                  IRICO GROUP CORP. and
15                                                IRICO DISPLAY DEVICES CO., LTD.
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24   1
      Irico sought and received consent to file publicly all previously designated information
     contained, summarized, or compiled in the various expert reports attached to the Werbel
25   Declaration from the following parties: defendant groups Hitachi, Mitsubishi, Panasonic, Philips,
     Samsung Electronics, Samsung SDI, Technology Displays America, Thomson, and Toshiba;
26   Direct Action Plaintiffs Best Buy and Costco; and third parties Amazon, Ingram Micro, PC
     Connection Inc. (D/B/A Connection) and Zones, Inc. Irico sought and received consent to file
27   publicly all previously designated documentary materials attached to Werbel Declaration from
     Hitachi, Panasonic, Philips, Toshiba, and Samsung SDI.
28
         IRICO’S ADMIN MOTION TO CONSIDER           3                 Master File No. 4:07-cv-05944-JST
         WHETHER LPD MATERIAL SHOULD BE                                                   MDL No. 1917
         SEALED
